Case 4:20-cv-00467-SDJ-CAN Document 57 Filed 03/24/22 Page 1 of 2 PageID #: 982




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  THE TRANSPARENCY PROJECT,           §
                                      §
                Plaintiff,            §                 CIVIL ACTION No. 4:20CV467
                                      §
  v.                                  §
                                      §
  U.S. DEPARTMENT OF JUSTICE, et al., §                 JUDGE SEAN D. JORDAN
                                      §
                Defendants.           §

                      DEFENDANT FBI’S NOTICE OF PRODUCTION

           In compliance with the Court’s order to notify the Court when production begins

 on Plaintiff’s narrowed DNC Hack Request, Defendant FBI submits the following status

 report:

                                                   I.

           On February 18, 2022, this Court ordered Defendant FBI to start production at a

 rate of 500 pages per month on Plaintiff’s narrowed DNC Hack Request (1469813-000)

 on or before March 23, 2022, and to notify the Court when production begins. [ECF 50].

 In compliance with this Order, Defendant FBI avers that the first interim release

 responsive to Plaintiff’s narrowed DNC Hack Request was federal expressed to Plaintiff

 yesterday, on March 23, 2022. In the interim release letter, Defendant FBI indicates that

 500 pages were reviewed and withheld in their entirety pursuant to applicable FOIA

 exemptions. Defendant FBI plans to continue this schedule with releases occurring on the

 23rd of each month moving forward.




 Defendant FBI’s Notice of Production                                                  Page 1
Case 4:20-cv-00467-SDJ-CAN Document 57 Filed 03/24/22 Page 2 of 2 PageID #: 983




                                             Respectfully submitted,


                                             BRIT FEATHERSTON
                                             ACTING UNITED STATES ATTORNEY

                                             /s/ Andrea L. Parker_________
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on March 24, 2022, a true and correct copy of the foregoing

 document was filed electronically with the court and has been sent to counsel of record

 via the court’s electronic filing system.

                                             /s/ Andrea L. Parker_________
                                             ANDREA L. PARKER
                                             Assistant United States Attorney




 Defendant FBI’s Notice of Production                                                  Page 2
